UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                  12/11/2019


OTTO RAFAEL PENA,

                                            Plaintiff,                 19-CV-06018 (SN)

                          -against-                                         ORDER

SCANDINAVIAN HOMES, LLC, et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        The parties attended court-ordered mediation in this Fair Labor Standards Act case

and reached agreement on all issues. See ECF No. 23. Counsel for the parties submitted

their proposed settlement agreement on December 9, 2019. ECF No. 29. The settlement is

APPROVED. The parties shall file an executed version of the agreement on ECF.

SO ORDERED.



DATED:           December 11, 2019
                 New York, New York
